                         IN THE UNITED STATES DISTRICT
                       COURT FOR THE NORTHERN DISTRICT
                          OF TEXAS FT. WORTH DIVISION

  EUGENIO VARGAS                               §
  Plaintiff/Counterclaim Defendant             §
                                               §
                                               §
                                               §
  V.                                           §
                                               §                      Case No. 4:22-CV-00430-Y
                                               §
                                               §
  ASSOCIATION OF                               §
  PROFESSIONAL FLIGHT                          §
  ATTENDANTS, JULIE HEDRICK,                   §
  ERIK HARRIS                                  §
                                               §
                                               §
  Defendants/Counterclaim Plaintiff.           §

       PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION FOR SUMMARY
                     JUDGMENT AND BRIEF IN SUPPORT

TO THE HONORABLE JUDGE OF SAID COURT:

       Pursuant to Fed. R. Civ. P. 56(c) and Local Rules 56.4 and 56.5, Plaintiff, Eugenio

Vargas (“Vargas”), respectfully submits his brief in support of Plaintiff’s, Association of

Professional Flight Attendant (“APFA”), Response to Defendant’s Motion for Summary

Judgment. Plaintiff respectfully requests that the Court deny Defendants’ Motion for Summary

Judgment and will show the court as follows.




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        Comes now, Defendant, Eugenio Vargas, and files Plaintiff’s Response in Opposition

to Defendant’s Motion for Summary Judgment.

        In accordance with Local Rule 56.4 (b), Plaintiff files an accompanying “Brief in
Opposition to Defendant’s Motion for Summary Judgment.”
        Plaintiff denies that this motion should be granted, as it is untimely filed, and there

is clearly a genuine issue of material fact that remains as to the misrepresentations that

should be applied to the case at issue, and therefore a motion for summary judgment is

premature and should not be granted.

        In this Response, Plaintiff demonstrates that Defendant’s summary judgment

evidence clearly establishes relevant fact issues continue to exist and further that Defendant

has failed to establish the elements of its causes of action for Enforcement of the APFA

Constitution and application of the Arbitrator’s Decision as well as a Breach of Fiduciary

Duty claim, either under common law, or under the LMRDA §501(a), because;

   1.      A jury could find that there exists a genuine issue of material fact as it relates to

           the procurement of the Arbitrator’s Award through fraud and dishonesty;

   2.      Defendant APFA failed to meet its burden of establishing by a preponderance of

           evidence that Vargas was given proper due process in accordance with the APFA

           Const. Art. III, Sec. 3B.

   3.      APFA failed to meet its burden of establishing that there is no disputed material fact as

           it relates to its claims to enforce the arbitration award, the breach of fiduciary duty

           under the LMRDA §501, or the breach of fiduciary duty under Texas common law.

   4.      There remain disputed material facts—most important being the misrepresentations

           and concealment of evidence APFA fails to address in its motion.


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   5.      Defendant, APFA fails to establish that there existed a fiduciary duty at the time

           that the alleged overpayments occurred;

   6.      Defendant, APFA fails to establish those alleged overpayments were, in fact,
           wrongful and breached any fiduciary duty; and

   7.      Defendant, APFA, fails to establish that Plaintiff’s alleged action of accepting the
           alleged overpayments caused any harm to the Defendant.

   On the grounds set forth above and detailed in the Plaintiff’s accompanying brief, Defendant’s

motion for summary judgment should be denied and this case set for trial on the merits.




                                              Respectfully submitted,
                                              K.D. PHILLIPS LAW FIRM, PLLC


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                                                    ATTORNEYS FOR PLAINTIFF




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                               CERTIFICATE OF SERVICE

          I certify that true and correct copy of this document was sent to all counsel of
  record, hereunder listed via ECF filing on this the 1st day of November 2022.

  William Osborne, Sanford Denison
                                                              /s/Kerri Phillips
                                                             Kerri Phillips




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